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Rev.11/97_* CRIMINAL COMPL
UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA DOCKET NO,
v.

PAMELA QU, MAGISTRATES CASE NO,
a.k.a, Minhong Qu, a.k.a. “Sophia,” and 0 5 om 1 8 0 1 M
a.k.a. "Sophia Qu." 09-

Complaint for violations of Title 18, United States Code, Section 2320 (Trafficking in Counterfeit Goods and
Services) and Title 21, United States Code, Sections 331(i)(3) and 333(a)(1) (Sale of Counterfeit Drugs)

NAME OF MAGISGRATE supGE! UNITED STATES LOCATION
ss MAGISTRATE JUDGE
HOKDRABLE'VICTOR B. KENTON Los Angeles, CA
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August 14, 20 3xo
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COMPLAINANSS sri femen} OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION: ecu JEL OF CALIFORNIA |

BY

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Beginning on or about an unknown date, and continuing through August 14, 2009, in Los Angeles ounty, within the Central
District of California, defendant PAMELA QU, also known as ("a.k.a.") "Minhong Qu," a.k.a. "So hia," and a.k.a. "Sophia
Qu," intentionally trafficked and attempted to traffic in goods and knowingly used a counterfeit mark on and in connection
with such goods, knowing that a counterfeit mark had been applied thereto, the use of which was likely to cause confusion, to
cause mistake, and to deceive, in violation of Title 18, United States Code, Section 2320.

Beginning on or about an unknown date, and continuing through August 14, 2009, in Los Angeles County, within the Central
District of California, defendant PAMELA QU, a.k.a. "Minhong Qu," a.k.a. "Sophia," and a.k.a. "Sophia Qu," did an act
which causes a drug to be a counterfeit drug, and sold and dispensed, and held for sale and dispensing, a counterfeit drug, in
violation of Title 21, United States Code, Sections 33 1(i)(3) and 333(a){1).

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:
(See supporting affidavit)

MATERIAL WITNESSES IN RELATION TO THIS CHARGE:

Being duly sworn, | declare that the SIGNATURE QF COMPLAINANT
foregoing is true and correct to the .
best of my knowledge. om
» 8 AARON G-LINDAMAN
OFFICIAL TITLE

SPECIAL AGENT, DEPARTMENT OF HOMELAND
SECURITY, U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT

Sworn to before me and subscribed in my presence, JL

SIGNATURE OF MAGISTRATE en DATE
AD August 14, 2009

1} See Federal Rules of Criminal Procedure rules 3 and 54.
AUSA: Harvinder S. Anand REC: Detention

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AFFIDAVIT

I, Aaron G. Lindaman, being duly sworn, hereby depose

and say:
I.

INTRODUCTION

1. I am a Special Agent (“SA”} with the Department
of Homeland Security (“DHS”), U.S. Immigration and Customs
Enforcement (“ICE”), presently assigned to the Office of
the Special Agent in Charge Los Angeles (*“SAC/LA"”),
California. I have been so employed since December 1,
2007. I am currently assigned to the SAC/LA Intellectual
Property Rights (“IPR”) Group, investigating commercial
smuggling, fraud and IPR violations committed against the
United States. I have participated in numerous fraud and
IPR-related investigations in the Central District of
California.

2. I have received 22 weeks of training at the
Federal Law Enforcement Training Center in Brunswick,
Georgia. This training program included topics in
detecting and investigating violations of various federal
laws, including fraud and IPR violations. Prior to this
position, I was an Officer for five years with the United
States Border Patrol, stationed in Calexico, California.

For this position, I received 26 weeks of training at the
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Federal Law Enforcement Academy in Charleston, South
Carolina. The training program included topics in basic
law enforcement duties and techniques, basic border
patrolling and tracking techniques, immigration law and
application, and basic law enforcement Spanish.

3. The information contained in this affidavit is
based on my personal observations, witness interviews,
conversations with ICE investigators and agents and other
agencies involved in this investigation, and my review of
documents obtained during this investigation. This
affidavit does not purport to set forth all of my knowledge
of, or investigation into, this matter. Where
conversations and events are referred to herein, they are
related in substance and in part. Where figures and
calculations are set forth, they are approximate. I have
only set forth the facts that I feel are necessary to
establish probable cause for the requested criminal
complaints, arrest warrants and search warrant.

II.

PURPOSE OF AFFIDAVIT

4, This affidavit is made in support of criminal

complaints against and arrest warrants for (1) PAMELA Qu,*

1 PAMELA QU’s legal name previously was MINHONG QU.
Based on my review of QU's Alien File (A# XXXXXX010), I

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also known as ("a.k.a.") "MINHONG QU," a.k.a. "Sophia," and
a.k.a. "Sophia Qu," for violations of Title 18, united
States Code, Section 2320 (Trafficking in Counterfeit Goods
and Services), and Title 21, United States Code, Sections
331(i) (3) and 333(a)(1) (Sale of Counterfeit Drugs); and
(2) QU’s sister, TOSHIE ISHIKAWA, a.k.a. "Sharry," and
a.k.a. "Sharry Ishikawa," for a violation of Title 21,
United States Code, Sections 331(i) (3) and 333(a)(1) (Sale
of Counterfeit Drugs).

5. This affidavit is also made in support of an
application for authorization to search the residence
located at 245 South California Street, San Gabriel,
California 91176 (the "SUBJECT PREMISES") for violations of
(1) 18 U.S.C. § 2320 (Trafficking in Counterfeit Goods and
Services) ; (2) 21 U.S.C. §§ 331(1) (3) and 333(a)(1) (Sale

of Counterfeit Drugs); (3) 21 U.S.C. §§ 331(t),

know that QU filed a petition in September 2008 to change
her name from MINHONG QU to PAMELA QU. On or about October
9, 2008, QU received a Certificate of Naturalization under
the name PAMELA QU. On August 13, 2009, Special Agent
Jason DeFreitas accessed the California Department of Motor
Vehicle photo identification system and determined that
when QU applied to renew her driver's license, QU used the
first name PAMELA. Although it appears that QU’s true
first name is PAMELA, most of this investigation involved
receiving identifying information when QU’s first name was
MINHONG. Accordingly, in most places in this affidavit, I
will refer to QU’s first name as MINHONG.

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353 (e) (2) (A), and 333(b) (1) (D) (Wholesale Distribution of
Prescription Drugs without a License}; (4) 18 U.S.C.

§ 2421 (Interstate Transportation for Illegal Sexual
Activity); and {5) 18 U.S.C. § 2422 (Coercion and

Enticement to Travel Interstate to Engage in Sexual

Activity).
Iti.
PREMISES TO BE SEARCHED
6. This application seeks authorization to search

the premises located at 245 South California Street, San
Gabriel, California 91176 (the “SUBJECT PREMISES”). The
SUBJECT PREMISES is a two-story Spanish or Mediterranean
style house located on the west side of California Street.
The SUBJECT PREMISES has an orange colored stucco exterior
and a red tiled roof. The SUBJECT PREMISES has a long
concrete driveway that extends from California Street
through to the back yard of the premises. The SUBJECT
PREMISES has a wrought-iron gate, which separates the front
driveway from the rear drive. This gate is framed into an
archway on the first story of the SUBJECT PREMISES. The
SUBJECT PREMISES has two large French-style windows on the

second story, which face California Street.
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Iv.

STATEMENT OF PROBABLE CAUSE

A. Summary of the Investigation

7. In October 2008, I received information from a
Cooperating Defendant (the “CD”) that a woman named
“Sophia,” later determined to be MINHONG QU, was selling
suspected counterfeit VIAGRA® pills and was operating a
prostitution business from her home. The CD had purchased
one purported pill of VIAGRA® from “Sophia” for $10 before
he started to provide me with information in this
investigation. I later had that pill tested by Pfizer
Inc., the manufacturer of VIAGRA® pills. Pfizer determined
to pill to be counterfeit.

8. After QU sold the CD the counterfeit VIAGRA®
pill, she also told the CD about a business that she runs
out of her home (the SUBJECT PREMISES). QU told the CD
that she had girls? available for between $200 and $250. It
was apparent from the context of QU’s statements that she
was running a prostitution business. QU also told the CD

about a website (www.lafuzuko.com) through which she was

2 When QU spoke to the CD and UCA, she used terms in
Japanese and Chinese that can be interpreted as “girls.”
The term that QU used with UCA can also be mean “ladies.”

I will use the word “girls” throughout this affidavit.
There is no evidence, however, that any of the prostitutes
referred to in this investigation are underage.

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offering girls’ services for sale. The www.lafuzuko.com
website is written in Japanese and appears to cater
primarily to Asian customers. Investigation in this case
has revealed that QU is running a prostitution business
that includes QU sending women, most of whom are of Asian
descent, to Las Vegas, Nevada.

9. The CD introduced an undercover agent with the
Immigration and Customs Enforcement to QU. During the
introductory meeting, the CD and undercover agent (the
“UCA") together purchased two bottles containing purported
pills of VIAGRA® from QU for $460; those pills later were
also determined to be counterfeit. In subsequent meetings,
QU has sold the UCA a total of six bottles of purported
VIAGRA®, five of which have been confirmed to be
counterfeit (the contents of the bottle that QU sold most
recently has not been analyzed yet). TOSHIE ISHIKAWA, who
Lives with and is QU’s sister, sold the UCA one bottle of
counterfeit VIAGRA® in July 2009.

10. During the first sale of counterfeit VIAGRA®
pills to the UCA, QU told the UCA about her business of
offering girls’ services for sale, i.e., her prostitution
business. During subsequent meetings, the UCA asked QU
whether she could send prostitutes to Las Vegas to meet

with him and his business associates. QU agreed. The UCA

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has paid QU a $2,000 down payment in anticipation of
providing these services on August 17, 2009. QU is
scheduled to drive four prostitutes to Las Vegas on that
day to meet with the UCA and his business associates ina
hotel.

B. Pfizer Inc. Manufactures and Has Live Trademarks for
VIAGRA®

11. On July 29, 2009, I queried the United States
Patent & Trademark (“USPTO”) Internet website and learned
the following information regarding Pfizer Inc.’s
registered trademarks:

a. Pfizer Inc. (“Pfizer”) has registered the
following trademark relating to VIAGRA® (registration
number 2593407) with the United States Patent and Trademark

Office (“USPTO”):

The registration statement provided: ‘The mark consists of
a diamond-shaped dosage tablet, combined with the color
blue as applied on the entire surface of the goods.” It

was registered on July 16, 2002, and is a live trademark.
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b. Pfizer also has registered with the USPTO
the following mark as registration number 3,125,531 in

connection with pharmaceutical preparations:

It was registered on August 24, 1948, and is a live
trademark.

Cc. Pfizer has registered the mark “VGR"
(registration number 2827922) with the USPTO to appear on
erectile dysfunction medications. It was registered on
March 30, 2004, and is a live trademark.

d. Pfizer has registered the mark “VIAGRA®”
{registration number 2162548) with the USPTO. It was
registered on June 02, 1998, and is a live trademark.

c. A Cooperating Defendant Provided Information About a
Woman Named “Sophia” Selling Purported VIAGRA® Pills

and Running a Prostitution Business at the SUBJECT
PREMISES

12. On or about October 20 and 21, 2008, a

Cooperating Defendant ("CD")* provided me the following

3 At the time the Cooperating Defendant provided the

information to me, he had pleaded guilty to a federal
offense, but had not been sentenced. Subsequently, the
Cooperating Defendant received consideration for his
cooperation in this case and received a non-custodial
sentence.
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information regarding a woman named “Sophia,” later
identified to be MINHONG QU:

a. On or about October 20, 2008, the CD called
phone number XXX-XXX-5717 and spoke with a woman named
"Sophia" in Japanese about purchasing VIAGRA® pills.
"Sophia" instructed the CD to go to her residence, i.e.,
the SUBJECT PREMISES, to purchase the VIAGRA® pills.

b. On or about October 20, 2008, the CD drove
to the SUBJECT PREMISES, where he met with the woman who
called herself "Sophia." "Sophia" invited the CD into the
SUBJECT PREMESIS, where the CD purchased a single blue
tablet of purported VIAGRA® from "Sophia" for $10.

Cc. After the CD purchased the tablet of
purported VIAGRA®, he asked "Sophia" if she did any other
things. In response, "Sophia" stated that in addition to
selling VIAGRA®, her main business was operating what the
CD described as a prostitution business from her residence,
i.e., the SUBJECT PREMISES. "Sophia" stated that she
charges approximately $200 to have sex with a girl at her

house.’ "Sophia" stated that she charges $250 to have sex

4 Although “Sophia” did not use the word “sex” during
the conversation with the CD, it was apparent [rom the
context of their conversation that “Sophia” was referring
to girls having sex with customers.

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with a girl away from her residence. "Sophia" also told
the CD that "sometimes the customer[s] need VIAGRA®."

qd. "Sophia" told the CD that she has Japanese
and Korean girls available for prostitution and that she
charges $150 for a Korean girl at her residence and $200
for a Japanese girl at her residence.

e. "Sophia" told the CD about a website known
as "www.lafuzuko.com." The CD understood this website to
promote "Sophia's" prostitution business.

f. "Sophia" told the CD that she could supply
the CD with VIAGRA® by the bottle (one bottle of VIAGRA®
contains 30 tablets). "Sophia" stated she could ship the
VIAGRA® to other countries, such as Japan, if necessary.

g. The CD described "Sophia" as a Chinese woman”
in her mid- to late-40's who spoke Japanese very well, the
language in which he communicated with "Sophia" on October
20, 2008. "Sophia" told the CD that her last name was
"Que" or "Kuo" (phonetic). As discussed later below,
"Sophia" was later identified as MINHONG QU.

D. QU and ISHIKAWA Reside at the SUBJECT PREMISES

13. On or about October 20, 2008, I conducted open

source checks through the law enforcement database

5 Based on my review of QU's Alien File (A#
XXXXXX010), I know that QU was born in Shanghai, China.

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Mwww.accurint.com" for information about individuals living
or residing at the SUBJECT PREMISES. From this database, I
learned that a woman named MINHONG QU, date of birth
(“DOB”) XX/XX/1968, was listed as residing at the SUBJECT
PREMISES. I also learned through "www.accurint.com" that
TOSHIE ISHIKAWA (DOB: unknown) was listed as having resided
at the SUBJECT PREMISES from February 2006 to June 2008.

14. On or about November 21, 2008, Southern
California Edison ("SCE") provided me with subscriber
information that showed that MINHONG QU is the utility
customer at the SUBJECT PREMISES. Additionally, according
to the records I received from SCE, QU listed TOSHIE
ISHIKAWA as her sister and listed XXX-XXX-1143 (home phone)
and XXX-XXX-5717 as her contact phone numbers. As further
discussed below, these are the same two phone numbers that
are listed as the contact phone numbers at the website
www.lafuzoku.com, the website address that QU provided to
the CD on October 20, 2008.

15. On or about December 2, 2008, I queried the U.S.
Immigration and Customs Enforcement’s Student and Exchange
Visitor Information System ("SEVIS") for information about
TOSHIE ISHIKAWA. From this search, I learned that ISHIKAWA

is currently in the United States on an F-1 (Student) Non-

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immigrant Visa.’ According to the SEVIS database, ISHIKAWA
lists the SUBJECT PREMISES as her residence in the United
States.

16. As further discussed below, an undercover agent
with ICE has met with QU and ISHIKAWA at the SUBJECT
PREMISES, where QU and ISHIKAWA continue to reside.

E. The Cooperating Defendant Identified “Sophia” as QU

17. On or about October 20, 2008, I searched the
Treasury Enforcement Communications System ("TECS") for
information about MINHONG QU (DOB: XX/XxX/1968). I learned
that on or around March 15, 2006, QU deposited over $12,000
into a Washington Mutual Bank account using driver's
license number XXXXX745.

18. On or about October 20, 2008, E searched the
California State Driver's License Database ("CALPHOTO").
Using driver's license number XXXXX745 (the above license
number), I found a driver's license photo for MINHONG QU.
On or about October 21, 2008, I showed this photo to the
CD. The CD positively identified the woman in the photo as
"Sophia," the woman he met at the SUBJECT PREMISES on

October 20, 2008.

$ If ISHIKAWA is found to have committed a crime, she
may be subject to removal from the United States for
violating the terms of her F-1 Visa. Accordingly, I will
seek permission below to search for documents relating to
ISHIKAWA’s F-1 Visa.

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F. The Pill that QU Sold to the Cooperating Defendant on
October 20, 2008 Was Counterfeit VIAGRA®

19. On or about October 21, 2008, I took custody of
and examined the tablet of purported VIAGRA® that "Sophia"
had sold to the CD on October 20, 2008. The tablet
appeared to be legitimate VIAGRA® manufactured by Pfizer.
It was a blue, diamond-shaped tablet stamped on one side
with the Pfizer logo. The other side of the tablet was
stamped with the logo "VGR 100." From my training and
experience, and based on conversations with other ICE
Agents, I know that, on a legitimate VIAGRA® pill, the logo
"VGR 100" means that the pill contains 100 mg of
"sildenafil citrate," the active ingredient in VIAGRA®.

20. On or about November 2, 2008, I sent the tablet
that "Sophia" had sold to the CD to Pfizer's laboratory for
scientific analysis.

21. On or about November 5, 2008, Pfizer's
Intellectual Property Forensic Laboratories confirmed that
the purported VIAGRA® pill that QU sold to the CD on
October 20, 2008, was counterfeit.

G. The Website www.lafuzoku.com Offers Reservations with
Girls and Lists QU’s Phone Numbers

22. On or about October 22, 2008, based on the

information I received from the CD, I queried the Internet

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search engine www.google.com for the key phrase
"www.lafuzoku.com." As a result of this open source
search, I learned the following:

a. My www.google.com query resulted ina
hyperlink for the website www.lafuzoku.com. I clicked on
this hyperlink, and was taken to a webpage that appeared to
be written in Japanese.

b. Utilizing the "Translate this Page" feature
provided by www.google.com, I translated the
www.lafuzoku.com webpage from Japanese to English. After
translating this page, I saw that www.lafuzoku.com is a
website that appears to promote prostitution services in
the Los Angeles, California area. Upon browsing this
website, I saw pictures of approximately ten women dressed

in lingerie or night gowns with their faces hidden or eyes

redacted.

c. Under the heading "A reservation" I saw two
phone numbers -- XXX-XXX-5717 and XXX-XXK-1143 -- and the
words "Megumi feel free to call us now, please." Beneath

these two phone numbers, I saw the words "Reservation
hours, Morning llam-midnight to lam." Additionally, while
browsing this website, I saw a heading titled, "How Request
Service" with the following information:

{1) by phone, and set a time of hope

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(2) staff arrived in the shortest 20 minutes
(3) consult your health
(4) or less of service time is optional.

e 1 hour course

° 2 hours

° 4 hours

* 6 hours

Others "1 Day", "accompanied the course of your
trip", "accompanied tour in Las Vegas," is also

available. By phone, please ask for details.

(S) In the case of an extension, please call us
at.

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23. The two phone numbers listed on www. lafuzoku.com
-- XXX-XXX-5717 and XXX-XXX-1143 -- are the same phone
numbers that QU provided to Southern California Edison as
her contact numbers. Furthermore, one of the phone numbers
-- XXX-XXX-5717 -- is the same phone number that the CD
called when he spoke to QU on October 20, 2008.

24. On or about July 29, 2009, I again queried the
search engine www.google.com for the keyword
www. lafuzoku.com. The search result again took me to a
hyperlink for www.lafuzoku.com. Utilizing the "Translate
this Page" feature, I was again able to view the
www.lafuzoku.com webpage. The webpage is currently

copyrighted through the year 2010; this, however, was the

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only change I observed to the website www. lafuzoku.com
since I first viewed it on October 22, 2008.

H. QU Is the Registered Subscriber for the Phone Numbers
Advertised on the Website www. lafuzoku.com

25. On or about June 10, 2009, I received information
from AT&T stating that MINHONG QU (DOB XX/XX/1968) is the
registered subscriber for phone numbers XXX-XX-5717 and
XXX-XX-1143, the two phone numbers listed on
www.lafuzoku.com.

IT. The Cooperating Defendant and_an Undercover Agent

Purchased Two Bottles of Counterfeit VIAGRA® from QU
at the SUBJECT PREMISES in November 2008

26. On or about November 26, 2008, an ICE Undercover
Agent (UCA) and the CD purchased two bottles of Viagra (60
pills) from MINHONG QU at the SUBJECT PREMISES. The cD
arranged the meeting by calling QU on or about November 25,
2008.

27. The UCA and CD met with QU at approximately 2:30
p.m. on November 26, 2008. This meeting was recorded.
From my conversations with the UCA and based on my review
of an English transcript of the recorded meeting, I know

that :7

7 Unless otherwise noted, all conversations and

consensually monitored meetings between and among QU,
ISHIKAWA, the UCA, the CD, or anyone else referred to in
this affidavit, were conducted primarily in Mandarin
Chinese or Japanese and translated for me by the person who

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a. QU greeted the UCA and CD at the front door
of the SUBJECT PREMISES.

b. QU let the UCA and the CD into the SUBJECT
PREMISES and gave the UCA a brown sandwich bag containing
two bottles of purported VIAGRA®. In return, the UCA gave
QU $230 and the CD also gave Qu $230.°

c. QU referred to herself as "Sophia" during
the meeting.

28. From my conversations with the UCA and based on
my review of an English transcript of the recorded meeting
with QU on November 26, 2008, I also know that:

a. The UCA engaged QU in conversation about her
prostitution business. QU stated that Japanese girls work
for her. QU stated that she charges $200 for Japanese
girls to meet a customer at her (QU's) residence. QU
Stated that she charges $250 for a customer to take a
Japanese girl away from her home.

b. QU stated that she also has Chinese and
Korean girls available, and that she charges $150 for forty

minutes with a Chinese or Korean girl at her (QU's}

communicated with QU or ISHIKAWA.

§ As further discussed below, QU’s selling price is
itself evidence of the purported VIAGRA® pills being
counterfeit. QU’s price for the bottle was equivalent to
each pill costing $7.70, which is less than half the price
for which a real pill of VIAGRA® typically sells.

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residence. QU stated that the Chinese and Korean girls
usually stay at her home.

c. QU told the UCA that she usually operates
her business between the hours of 1:00 p.m. or 2:00 p.m.
and midnight.

d. QU told the UCA that she has been in this
business for approximately 17 years.’

e. QU told the UCA that many of the girls who
work for her are students from Japan and China and that she
has around seven or eight Japanese girls and many Chinese
and Korean girls working for her.

f. QU told the UCA that she also has local

American and Hispanic girls working for her and that she

charges $150 for a Hispanic girl.

? During the course of this investigation, I obtained

QU's Alien File (A# XXXXXX010). The file contains
information that QU was cited for a prostitution charge in
the City of San Gabriel, California in January 2003. I
have been informed by the San Gabriel Police Department
that QU was not convicted for this charge and that the
original police report for the charge has since been
destroyed. On or about December 4, 2008, I conducted a
California employment history check for QU, utilizing the

_ State of California Employment and Development Division
("EDD"), which keeps records of an individual's employment
history for approximately the preceding 18 months. EDD had
no history of employment for MINHONG QU for the preceding
18 months in the state of California. On or about August
13, 2009, I again conducted an employment check for QU with
EDD. EDD still has no history of employment for QU.

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29, From my conversations with the UCA and based on
my review of an English transcript of the recorded meeting
with QU on November 26, 2008, I also know that:

a. QU told the UCA that she always has VIAGRA®
available at anytime.

b. The UCA asked QU how much time she would
need to get the UCA five or ten bottles of VIAGRA®. QU
told the UCA that she would need one day's notice for such
an order.

30. The two bottles of purported VIAGRA® that QU sold
to the UCA and CD on November 26, 2008, appeared to be
manufactured by Pfizer. The bottles had the Pfizer Inc.
logo and a label purporting the pills to be 100 mg VIAGRA®.
The bottles were sealed with a silver tamper-proof cover
with the Pfizer logo. Upon opening these bottles and
breaking the tamper-proof seal, I found blue, diamond-
shaped tablets stamped on one side with the Pfizer logo.
The other side of the tablets were stamped "VGR 100."

31. On or about December 8, 2008, I sent one bottle

to Pfizer’s laboratory for scientific analysis.*®

10 The one bottle that I sent to Pfizer was a
representative sample. The two bottles that QU soid to the
UCA and CD appeared to be identical.

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32. On or about December 16, 2008, Pfizer’s
Intellectual Property Forensic Laboratories confirmed that
the bottle I submitted contained counterfeit VIAGRA® pills.

J. Results of Surveillance at the SUBJECT PREMISES in
December 2008

33. On or about Monday, December 1, 2008, ICE Special
Agents Wally Tsui and Mario Sampedro and I conducted
surveillance at the SUBJECT PREMISES. We observed the
following:

a. At approximately 4:00 p.m., I observed a
green Honda Civic sedan parked in the driveway of the
SUBJECT PREMISES. Through a law enforcement database, I
determined that this vehicle is registered to TOSHIE
ISHIKAWA and MINHONG QU at the SUBJECT PREMISES.

b. At approximately 4:50 p.m., I observed a
white Lexus sedan park across the street from the SUBJECT
PREMISES. We observed two Asian men exit from the white
Lexus and enter the SUBJECT PREMISES.

c. At approximately 5:10 p.m., I observed a
dark colored van park adjacent to the SUBJECT PREMISES. We
observed a man exit this van and enter the SUBJECT
PREMISES. At approximately 5:55 p.m., I observed the man
exit the SUBJECT PREMISES. He was inside the SUBJECT

PREMISES for approximately 45 minutes.

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a. At approximately 5:12 p.m., I observed a
vehicle stop in front of the SUBJECT PREMISES. We observed
a young Asian woman exit the vehicle and enter the SUBJECT
PREMISES. The vehicle then drove away.

e. At approximately 5:25 p.m., I observed
another young Asian woman enter the SUBJECT PREMISES after
she was dropped off by a vehicle.

f. At approximately 5:30 p.m., SA Tsui observed
a white BMW automobile pull into the driveway at the
SUBJECT PREMISES. This vehicle was parked in the driveway
for approximately 25 minutes, after which time I observed
the BMW drive away from the SUBJECT PREMISES.**

K. Results of Refuse Check at the SUBJECT PREMISES in
December 2008

34. On or about Tuesday, December 9, 2008, Special
Agent Wally Tsui and I searched the trash left on the
street in front of the SUBJECT PREMISES. I seized the
following items from the trash:

a. Financial documents addressed to QU.

b. Fourteen used latex condoms and accompanying

condom packages.

ii In the afternoon of December 3, 2008, Special

Agent Mario Sampedro and I conducted surveillance at the
SUBJECT PREMISES. We observed no unusual activity. In the
afternoon of December 11, 2008, three ICE agents and I
conducted surveillance at the SUBJECT PREMISES. We
observed no unusual activity.

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L. The Undercover Agent Purchased Five Bottles of
Counterfeit VIAGRA® from QU at the SUBJECT PREMISES in
January 2009

35. On January 22, 2009, the UCA purchased five
bottles of counterfeit VIAGRA® from QU at the SUBJECT
PREMISES. The meeting was arranged via a consensually
monitored telephone call between the CD and QU on January
20, 2009. During this telephone call, QU agreed to sell
the UCA five bottles of purported VIAGRA® for $220 per
bottle ($1,100 total). From my conversations with the UCA
and a review of the English transcript of the meeting
between the UCA and QU, which was recorded, I learned the
following:

a. On January 22, 2009, at approximately 3:00
p-m., the UCA entered the SUBJECT PREMISES. QU offered the
UCA tea. The UCA accepted QU’s offer. QU went to and
returned from her kitchen. When she returned, QU served
the UCA tea and handed him a brown sandwich bag containing
five bottles of purported VIAGRA®. In exchange, the UCA
paid QU $1,100.

b. The UCA spoke to QU about her prostitution
business. The UCA told QU that he had heard the CD mention
something about Las Vegas while talking to QU. QU told the
UCA that to take a girl out of her home, she charges $250

for an hour, but to go to Las Vegas with a girl, she

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charges $1,000 per day. QU told the UCA that she has sent
girls to work in Las Vegas and that the customer usually
buys the plane ticket for a girl to travel to and from Las
Vegas.

C. The UCA presented himself to QU as a
businessman and expressed interest in QU sending girls to
Las Vegas to meet with him and his business associates. QU
stated that she was willing to send girls to Las Vegas to
meet the UCA and his associates. QU stated that she would
charge approximately $1,000 per day, for each girl, to meet
customers in Las Vegas, Nevada. QU stated that typically
transportation for the girls from San Gabriel, California
to Las Vegas, Nevada would be paid for by the customer.

d. QU told the UCA that Japanese girls would go
to Las Vegas, Nevada with the UCA, but that Chinese girls
would not be so agreeable, i.e., to go on a trip to Las
Vegas, Nevada. QU later told the UCA, however, that
although usually only Japanese girls go out of town to Las
Vegas, if the UCA preferred Chinese girls in Las Vegas,
this could be arranged. QU stated that it would not be a
problem to have three, four, five or six ladies go with the
UCA to Las Vegas.

36. The five bottles of purported VIAGRA® that QU

sold to the UCA on January 22, 2009, appeared to be

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manufactured by Pfizer. The bottles had the Pfizer logo
and a label stating that the pills were 100 mg VIAGRA®.
The bottles were sealed with a silver tamper-proof cover
with the Pfizer logo. Upon opening these bottles and
breaking the tamper-proof seals, I found blue, diamond-
shaped tablets stamped on one side with the Pfizer logo.
The other side of the tablets were stamped "VGR 100."

37. On or about January 27, 2009, I sent one bottle,
which was a representative sample of the five bottles, to
Pfizer’s laboratory for scientific analysis.

38. On or about February 3, 2009, Pfizer Inc.
Intellectual Property Forensic Laboratories confirmed that
the bottle that I sent for analysis contained counterfeit
VIAGRA® pills.

M. Results of Surveillance at the SUBJECT PREMISES on
February 12, 2009

39, On or about Thursday, February 12, 2009, ICE
Special Agents and I conducted surveillance at the SUBJECT
PREMISES. We observed the following:

a. At approximately 6:00 p.m., I observed an
Asian woman enter the SUBJECT PREMISES after she was
dropped off by a vehicle.

b. At approximately 7:30 p.m., I observed a

silver color Toyota Camry park curbside near the SUBJECT

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PREMISES . I observed a middle aged Asian man exit the
vehicle and smoke a cigarette outside of his car. After
approximately five minutes, I observed a young Asian woman
walking southbound on South California Street from the
direction of the SUBJECT PREMISES. The woman entered the
silver Toyota Camry and the car drove off.

c. At approximately 8:30 p.m., I observed the
aforementioned Silver Toyota Camry return to the SUBJECT
PREMISES. Due to low lighting conditions, I was unable to
observe if the Toyota Camry dropped anyone off at the
SUBJECT PREMISES. I briefly followed the silver Toyota
Camry away from the SUBJECT PREMISES and observed only a
single male driver in the vehicle.

N. Results of Refuse Checks at the SUBJECT PREMISES in
February and March 2009

40. On or about February 17, 2009, ICE Special Agent
Joe Simms and I searched the trash left on the street in
front of the SUBJECT PREMISES. I seized the following
items:
a. *Crown Condom 1,008 Latex Condoms Product
Code #21000 Lot No. T 247. Okamoto USA Inc., Stratford Ct.

06615 USA.”

b. Fifteen used condoms with assorted wrappers.

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qc. Miscellaneous documents addressed to QU at

the SUBJECT PREMISES.
41. On or about March 10, 2009, I searched the trash

left on the street in front of the SUBJECT PREMISES. [I
seized the following items:

a. Fifteen assorted brand latex condom
wrappers;

b. Miscellaneous documents addressed to QU at
the SUBJECT PREMISES and documents with QU’s name on them.

Cc. A generic birthday card from a company in
Torrance, California addressed to "Ms. Sharry ISHIKAWA."
The postcard had been mailed to a post office box address.

oO. QU Informed Callers Inquiring About Her Website that
She Would Send Prostitutes to Las Vegas, Nevada

42. On or about April 8, 2009, an undocumented source
called XXX-XXX-5717, a phone number registered to QU, and
spoke to a woman in Japanese. The undocumented source is a
native Japanese speaker and his conversation with the woman
was entirely in Japanese. Their conversation was recorded
and heard by Special Agent Mario Sampedro. Prior to
placing the phone call, I showed the undocumented source
the website www.lafuzoku.com and instructed the
undocumented source to inquire whether girls were available

to travel to Las Vegas, Nevada. Based on my conversations

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with the undocumented source following the phone call, I
learned the following:

a. The undocumented source called the phone
number XXX-XXX-5717. A woman answered the phone. The
undocumented source told the woman that he saw her number
advertised on the website www.lafuzoku.com and that he was
interested in girls.

b. The woman stated that the price for Japanese
girls is $250 per hour and that the Japanese girls could be
sent to a customer's home. The woman also stated that the
cost for Mexican girls is $150.

c. The woman told the undocumented source that
she could send girls to meet with customers in Las Vegas,
Nevada for a cost of $1,000 per girl. The woman stated
that she would need to be contacted a couple of days in
advance before the girls could go to Las Vegas. The woman
also stated that because the girls are students, they would
need a couple of days’ advance notice to travel to Las
Vegas.

43. On or about July 10, 2009, ICE Special Agent
Bruce Kamei called XXX-XXX-5717, a phone number registered
to QU, and spoke to a woman who eventually identified

herself as “Sophia,” an alias that QU uses. Based on my

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conversations with SA Kamei regarding his conversation with
“Sophia,” I learned the following:

a. When SA Kamei called the phone number XxXxX-
XXX-5717, a woman answered the phone. SA Kamei asked for
"Megumi," a name associated with the phone number XXX-XXX-
5717 at www.lafuzoku.com. SA Kamei asked for "Megumi" in
English. The woman who answered the phone acknowledged SA
Kamei in Japanese. Initially, the woman who answered the
phone was hesitant to speak with SA Kamei. After
approximately two minutes, SA Kamei engaged "Megumi" in
conversation in Japanese. During the course of this
conversation, SA Kamei toid "Megumi" that he is interested
in having a "party" in Las Vegas, Nevada around
Thanksgiving of this year. "Megumi" agreed to accommodate
SA Kamei, and asked how many girls SA Kamei would need for
his “party.” SA Kamei told "Megumi" that he would need 10
to 12 girls for his “party.” "Megumi" responded, "that is
going to cost you a fortune."

b. During the course of their conversation,
"Megumi" told SA Kamei that it would cost approximately
$1,000 per girl, per day for their services in Las Vegas,
Nevada. SA Kamei agreed to this price, and asked "Megumi"
if he could call her back later in the month. "Megumi"

agreed to this and told SA Kamei to call her to set up the

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proposed Las Vegas meeting a "couple of months ahead."
Prior te ending their conversation, SA Kamei thanked
"Megumi." In response, "Megumi" told SA Kamei that her
name is not "Megumi" and to call her "Sophia." "Sophia" is
a known alias that QU uses.

c. On or about August 12, 2009, the UCA
listened to the audio recordings from the aforementioned
monitored calls and identified the female voice from these
recordings as belonging to QU.

P. Results of Surveillance at the SUBJECT PREMISES in
May, June and July 2009

44. On or about Tuesday, May 12, 2009, Agents Wally
Tsui and Mario Sampedro and I conducted surveillance at the
SUBJECT PREMISES. We observed the following:
a. At approximately 5:50 p.m., I observed an
Asian man driving a 2007 Toyota Sedan park near the SUBJECT
PREMISES, exit his vehicle, and enter the SUBJECT PREMISES.
b. At approximately 6:00 p.m., I observed an
Asian woman park her red Suzuki wagon and enter the SUBJECT
PREMISES. Through a check of a law enforcement database, I
determined that this vehicle is registered to an address in

Huntington Beach, California.*?

12 As noted below, during a meeting on July 15, 2009,

QU told the UCA that some of the girls who work for her
reside in Huntington Beach.

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Cc. At approximately 6:30 p.m., the other agents
and I observed an Asian woman get dropped off in front of
and then enter the SUBJECT PREMISES.

da. At approximately 8:10 p.m., the other agents
and I observed another Asian woman get dropped off in front
of and then enter the SUBJECT PREMISES.

45. On or about Thursday, May 28, 2009, Agents Wally
Tsui and Mario Sampedro and I conducted surveillance at the
SUBJECT PREMISES. We observed the following:

a. At approximately 7:35 p.m., the other agents
and I observed an Asian woman get dropped off in front of
and then enter the SUBJECT PREMISES.

k. At approximately 7:55 p.m., the other agents
and I observed a black man park his vehicle and then enter
the SUBJECT PREMISES. The other agents and I observed this
man leave the SUBJECT PREMISES at approximately 9:30 p.m.

c. At approximately 9:00 p.m., a newer Mercedes
Benz coup, silver in color, parked curbside near the
SUBJECT PREMISES. I observed a young Asian man exit this
vehicle and enter the SUBJECT PREMISES. The man left the
SUBJECT PREMISES at approximately 9:30 p.m.

d. At approximately 9:10 p.m., a red Suzuki
wagon parked curbside near the SUBJECT PREMISES. This

vehicle was the same vehicle observed during surveillance

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at the SUBJECT PREMISES on May 12, 2009. I observed an
Asian woman exit the red Suzuki wagon and enter the SUBJECT
PREMISES.

e. At approximately 9:30 p.m., I observed an
Asian woman get dropped off in front of and then enter the
SUBJECT PREMISES.

46. On or about Friday, June 26, 2009, Special Agents
Ted Leyson, Aaron Mogilny, Joshua Akronowitz and Mario
Sampedro and I conducted surveillance at the SUBJECT
PREMISES. We observed the following:

a. At approximately 6:19 p.m., I observed an
Infinity sedan park across the street from the SUBJECT
PREMISES. I observed an Asian man exit the vehicle and
enter the SUBJECT PREMISES. At approximately 7:02 p.m., I
observed the Asian man leave the SUBJECT PREMISES.

b. At approximately 6:35 p.m., I observed a
gray Mitsubishi Lancer park across the street from the
SUBJECT PREMISES. This is the same vehicle that other
agents and I have observed dropping off women at the
SUBJECT PREMISES during previous surveillances. On June
26, 2009, I again observed a young Asian woman exit the

Mitsubishi Lancer and enter the SUBJECT PREMISES.

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c. At approximately 7:00 p.m., I observed the
Mitsubishi Lancer return to the SUBJECT PREMISES and drop
off another Asian woman, who entered the SUBJECT PREMISES.

d. At approximately 8:00 p.m., two Asian women
left the SUBJECT PREMISES and got into a green Honda Civic
parked in the driveway of the subject residence. This
Honda Civic is registered to QU and ISHIKAWA. Special
Agents Mario Sampedro and Ted Leyson followed the Honda
Civic to a nearby restaurant. Agents observed the two
women, later identified as QU and ISHIKAWA, pick up take-
out food and return to the SUBJECT PREMISES.

47, On or about July 8, 2009, Special Agents Aaron
Mogilny, Joshua Akronowitz and Wally Tsui and Group
Supervisor Sene Tchen and I conducted surveillance at the
SUBJECT PREMISES. We observed the following:

a. At approximately 6:35 p.m., an Asian man
walked southbound down California Street and entered the
SUBJECT PREMISES.

b. At approximately 6:45 p.m., I observed three
Asian men exit two vehicles and together enter the SUBJECT
PREMISES.

c. At approximately 7:35 p.m., I observed three
Asian women exit from a vehicle and enter the SUBJECT

' PREMISES.

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d. At approximately 7:55 p.m., I observed three
more Asian women exit from another vehicle and enter the
SUBJECT PREMISES.

Q. The Undercover Agent Purchased One Bottle of

Counterfeit VIAGRA® from ISHIKAWA and QU at the
SUBJECT PREMISES in July 2009

48. On July 15, 2009, at approximately 6:00 p.m., the
UCA purchased one bottle of counterfeit VIAGRA® from TOSHIE
ISHIKAWA and QU at the SUBJECT PREMISES. Through my
conversations with the UCA, ‘I learned the following:

a. The UCA approached the door of the SUBJECT
PREMISES and was greeted by a Chinese woman, later
identified as TOSHIE ISHIKAWA. ISHIKAWA invited the UCA
into the SUBJECT PREMISES and introduced herself as
"Sharry." ISHIKAWA told the UCA that she is the younger
sister of "Sophia QU." ISHIKAWA asked the UCA if he would
like something to drink. The UCA asked for water.

ISHIKAWA asked the UCA to sit down on a sofa and went into
the kitchen to get the UCA water.

b. When ISHIKAWA returned from the kitchen, she
was carrying a bottle of water in one hand and a brown
paper bag in the other. ISHIKAWA handed the UCA the bottle
of water along with the brown paper bag, which contained
one bottle of purported VIAGRA® pills. As ISHIKAWA was

handing the brown paper bag to the UCA, she stated, "here

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is the stuff you want." The UCA had not asked or discussed
with ISHIKAWA the VIAGRA® pills. The UCA had ordered the
bottle of VIAGRA® pills from QU when he arranged the July
15 meeting with QU by telephone on July 14, 2009.

Cc. After receiving the brown paper bag from
ISHIKAWA, the UCA told ISHIKAWA that he wanted to talk to
"Sophia." ISHIKAWA told the UCA that "Sophia" was upstairs
studying on the computer and asked if there was anything
with which she could help the UCA. The UCA told ISHIKAWA
that he was in the process of setting up a meeting with his
business partner in Las Vegas, Nevada. While the UCA was
discussing the details of this proposed meeting, ISHIKAWA
interrupted the UCA and told him that he needed ladies
{i.e., for the trip to Las Vegas). The UCA stated yes.
ISHIKAWA stated that customers have to pay for the airfare
to Ely girls to Las Vegas, and that the girls stay
overnight in Las Vegas. ISHIKAWA told the UCA that he
would have to pay $1,000 per girl, per day for services in
Las Vegas.

d. During their conversation, ISHIKAWA
explained to the UCA that it costs $200 to meet a Japanese
girl at the SUBJECT PREMISES and $250 to take a Japanese
girl away from the residence. ISHIKAWA told the UCA that a

customer needs to call in advance for a Japanese girl

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because the Japanese girls take approximately 45 minutes to
drive from Huntington Beach or West Hollywood to the
SUBJECT PREMISES. ISHIKAWA told the UCA that they also
have available Chinese, Korean, Thai and Malaysian girls,
who live near the SUBJECT PREMISES; accordingly, these
girls take less time to arrive at the SUBJECT PREMISES.

e. While talking to ISHIKAWA, the UCA heard a
male voice from the back of the SUBJECT PREMISES calling
for "Sophia." ISHIKAWA responded, "I am coming," and
proceeded into the kitchen of the SUBJECT PREMISES. A
short time later, ISHIKAWA returned from the kitchen and
told the UCA that "Sophia" would be done with her online
study and would talk to the UCA in another ten minutes or
so. ISHIKAWA told the UCA that she lives at the SUBJECT
PREMISES with "Sophia."

£. The UCA continued to converse with ISHIKAWA.
A short time later, QU joined ISHIKAWA and the UCA in
conversation. The UCA told QU that he was thinking of
having a business meeting in Las Vegas on August 13, 2009,
and inquired whether QU could send four or five girls to
Las Vegas to meet with the UCA and his business associates.
QU agreed to send four or five girls from San Gabriel,
California to Las Vegas, Nevada, and offered to drive the

girls to Las Vegas for a down payment of $2,000. The UCA

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agreed to pay QU a down payment of $2,000 on August 10,
2009, for the girls’ services in Las Vegas on August 13,
2009.

g. QU showed the UCA a photo of a young
Japanese girl on a laptop computer. QU stated that this
was a 21-year-old Japanese girl who would travel to Las
Vegas to meet the UCA and his business associates on August
13, 2009.

h. QU told the UCA that girls who work at the
SUBJECT PREMISES live in the Huntington Beach area of
California. QU also told the UCA that some of the girls
are from Thailand and Malaysia.

1. Later, in the presence of ISHIKAWA, the UCA
paid QU $220 for the bottle of purported VIAGRA® pills that
ISHIKAWA had given to him earlier.

49, On or about July 20, 2009, I sent to Pfizer's
laboratory one sample pill from the bottle that ISHIKAWA
and QU sold to the UCA on July 15, 2009, for scientific
analysis.

50. On or about July 21, 2009, Pfizer's Intellectual
Property Forensic Laboratories confirmed that the one
representative pill, which ISHIKAWA and QU had sold to the

UCA on July 15, 2009, was counterfeit VIAGRA®.

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R. QU Agrees to Drive Prostitutes to Las Vegas on August
17, 2009

51. On or about August 5, 2009, the UCA called QU to
change the planned meeting in Las Vegas, Nevada from August
13, 2009, to August 17, 2009. From my conversations with
the UCA, I learned the following:

a. QU agreed to this change in plans and told
the UCA that for a down payment of $2,000, QU would drive
four girls from San Gabriel to Las Vegas on August 17,
2009.

b. The UCA told QU that he would go to QU's
residence the following week to give QU the $2,000 down

payment.

Ss. On August 11, 2009, the UCA Gave QU a $2,000 Down
Payment and Purchased One Bottle of Suspected
Counterfeit VIAGRA®

52. On or about August 11, 2009, the UCA met with QU
at the SUBJECT PREMISES. From my conversations with the
UCA following this meeting, I learned the following:

a. The UCA entered the SUBJECT PREMISES. The
UCA gave QU a $2,000 down payment for four girls (two
Japanese girls, one Chinese girl and one Korean girl) to
travel to Las Vegas, Nevada on August 17, 2009. QU told
the UCA that the Chinese girl that would go to Las Vegas

was named "Shin Shin" and that she was tall, nice and slim.

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Qu told the UCA that she has been in this business for 8
years.

b. QU told the UCA that she would rent a
vehicle (most likely a van) to drive the girls to Las Vegas
on August 17, 2009. QU stated that she would try to meet
the UCA in Las Vegas at around 2:00 p.m. on August 17,
2009, as the UCA requested. The UCA told QU to bring the
girls to a room at the Mandalay Bay Hotel.

c. QU sold the UCA one bottle of purported
VIAGRA® for $220. The UCA told QU that he had sold one
bottle of VIAGRA® that he had purchased from her previously
to a friend for $250. The UCA told QU that his friend said
that the VIAGRA® pills were counterfeit. The UCA asked QU
whether the VIAGRA® she was selling him was counterfeit.

QU seemed to be taken aback by this question, but did not
deny that the VIAGRA® she was selling to the UCA was
counterfeit. QU stated only that she buys the pills
locally.

T. Neither QU Nor ISHIKAWA Is a Licensed Medical Doctor
or a Licensed Pharmacist

53. On or about August 13, 2009, I queried the
Department of Consumer Affairs’ Board of Pharmacy License
Search for Registered Pharmacist

(http: //www.pharmacy.ca.gov/) and learned that no record

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was found under the names PAMELA QU, MINHONG QU, Sophia Qu,
TOSHIE ISHIKAWA or Sharry Ishikawa. The California Board
of Pharmacy provides open source information about licensed
pharmacists and technicians in the State of California.
According to this website, California law provides that
information on the Board’s website can be accepted as
verification of a license, pursuant to California Business
and Professions Code Section 4106. Because QU’s and
ISHIKAWA’s names do not appear on the Board of Pharmacy’s
website, neither QU nor ISHIKAWA is a licensed pharmacist
or technician in California.

54. On or about August 13, 2009, I also queried the
Medical Board of California, Department of Consumer Affairs
(http: //www.medbd.ca.gov/lookup.html) and learned that no
record was found under the names PAMELA QU, MINHONG QU,
Sophia Qu, TOSHIE ISHIKAWA or Sharry Ishikawa. According
to this website, the Medical Board of California is a state
government agency that licenses and disciplines medical
doctors. The Medical Board provides two principal types of
services to consumers: public-record information about
California licensed physicians, and investigation of
complaints against physicians. Because QU’s and ISHIKAWA‘’s
names do not appear on the Medical Board's website, neither

QU nor ISHIKAWA is a licensed physician in California.

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U. Training, Experience and Opinions

55. Based on my training and experience and
information relayed to me by other more experienced law
enforcement personnel who specialize in the investigation
of commercial smuggling, fraud and Intellectual Property
Right-related crimes, I know that individuals who sell
counterfeit VIAGRA® and other popular pharmaceutical drugs
will attempt to conceal the counterfeit nature of the drugs
that they distribute. Distributors of counterfeit
pharmaceutical drugs typically represent their products to
be real products to maximize their profits. Even though
counterfeit pharmaceutical drugs are typically sold at
lower prices than the corresponding real drugs,
distributors of counterfeit drugs derive high profits
because of the cheap manufacturing cost of counterfeit
drugs. This is because counterfeit pharmaceutical drugs
are typically manufactured outside the United States, often
in the People’s Republic of China, at a very low cost.

56. Based on my training and experience and
information relayed to me by other more experienced law
enforcement personnel as described above, I know that a
vast majority of counterfeit VIAGRA® pills are imported

from outside the United States.

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57. Based on my training and experience and
information relayed to me by other more experienced law
enforcement personnel as described above, I also know that
legitimate VIAGRA® tablets usually cost between $16 and $20
per tablet at pharmacies and on the Internet. QU and
ISHIKAWA sold the UCA bottles containing 30 pills of
counterfeit VIAGRA® for $230. This price per bottle is
equivalent to a cost of approximately $7.70 per pill, which
is less than half of the lowest price for which a
legitimate VIAGRA® pill usually sells. Furthermore, when
the UCA asked QU on August 11, 2009, whether the pills she
was selling to him were counterfeit, QU appeared to be
taken aback by the UCA’s question, but she did not deny
that the pills that she had been selling to the UCA were
counterfeit. Accordingly, based on all the foregoing
information in this affidavit, I submit that probable cause
exists to believe that QU knows that she was selling
counterfeit VIAGRA® pills. Furthermore, given that both QU
and ISHIKAWA have represented that they are sisters, that
they have been residing together since at least 2008, that
ISHIKAWA sold a bottle of purported VIAGRA® pills to the
UCA on July 15, 2009, that ISHIKAWA knew that the UCA was
at the SUBJECT PREMISES to buy purported VIAGRA® pills on

July 15, 2009, without the UCA asking her for those pills,

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and that ISHIKAWA knows the details of QU’s prostitution
business, I submit that probable cause exists to believe
that ISHIKAWA knows about QU’s business of selling VIAGRA®
pills and that ISHIKAWA also knows that the pills are
counterfeit. For the reasons described above, I believe
that QU and ISHIKAWA deliberately conceal the counterfeit
nature of the VIAGRA® pills that they are selling.

58. Based on my training and experience and
information relayed to me by other more experienced law
enforcement personnel as described above, I know that
individuals involved in the illicit counterfeit
pharmaceutical drug business usually keep contraband,
records, packaging materials, customer lists, records of
sales and purchases of their counterfeit pharmaceutical
drugs, and ways to camouflage the counterfeit nature of the
pills that they are selling, wherever they are conducting
their business and in their residences. In this case, QU
is selling counterfeit VIAGRA® pills from her home, which
makes it even more likely that she would keep the foregoing
items at the SUBJECT PREMISES. Accordingly, based on all
the foregoing information in this affidavit, I submit that
probable cause exists to believe that evidence, fruits and
instrumentalities of counterfeit VIAGRA® sales will be

found at the SUBJECT PREMISES. In particular, QU and

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ISHIKAWA likely keep at the SUBJECT PREMISES counterfeit
VIAGRA® pills, packaging materials, customer lists, records
of sales and purchases of counterfeit VIAGRA® pills, and
ways to camouflage the counterfeit nature of the pills that
they are selling.

59. Based on my training and experience and
information relayed to me by other more experienced law
enforcement personnel as described above, I know that
individuals involved in the sale of counterfeit
pharmaceuticals often use computers to acquire their
counterfeit products, including counterfeit VIAGRA® pills.
These individuals often also keep records of their
counterfeit pharmaceutical drug sales on a computer. As
further discussed above and below, I know that QU uses an
Internet website and a laptop computer in her prostitution
business. This shows that QU is computer Savvy, and thus,
more likely to also use a computer to make purchases and
sales of counterfeit VIAGRA® pills. Accordingly, based on
all the foregoing information in this affidavit, I submit
Chat probable cause exists to believe that evidence,
fruits, and instrumentalities of counterfeit VIAGRA®
purchases and sales will be found in one or more computer

at the SUBJECT PREMISES.

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60. Based on my training and experience and
information relayed to me by other more experienced law
enforcement personnel as described above, I know that
individuals involved in a prostitution business keep
records, customer lists, and records of their business
wherever they are conducting their business and in their
residences. In this case, QU is running a prostitution
business in her home, which makes it even more likely that
she would keep the foregoing items at the SUBJECT PREMISES.
Accordingly, based on all the foregoing information in this
affidavit, I submit that probable cause exists to believe
that evidence, fruits and instrumentalities of a
prostitution business will be found at the SUBJECT
PREMISES.

61. Based on my training and experience and
information relayed to me by other more experienced law
enforcement personnel as described above, and the facts in
this case, including the fact that QU showed the UCA a
picture of one of her prostitutes on a laptop computer at
the SUBJECT PREMISES, I know that QU uses a computer and
the website www.lafuzoku.com to facilitate, execute and
promote her illegal prostitution business. Based on all
the foregoing information in this affidavit, I submit that

probable cause exists to believe that evidence, fruits, and

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instrumentalities of QU’s prostitution business and the
business advertised at www.lafuzoku.com will be found in
one or more computer at the SUBJECT PREMISES.

62. Based on my training and experience and
information relayed to me by other more experienced law
enforcement personnel as described above, I know that
individuals involved in the illicit counterfeit
pharmaceutical drug and prostitution businesses usually
keep large amounts of cash where they conduct their
business and in their residences. In this case, QU is
selling counterfeit VIAGRA® pills and running a
prostitution business in her home, which makes it even more
likely that she would keep large amounts of cash at the
SUBJECT PREMISES. Based on all the foregoing information
in this affidavit, I submit that probable cause exists to
believe that large amounts of cash will be found at the
SUBJECT PREMISES.

63. Based on my training and experience and
information relayed to me by other more experienced law
enforcement personnel as described above, I also know that
individuals who traffic in counterfeit pharmaceutical drugs
typically acquire the drugs, either directly or indirectly,
from outside the United States. Such individuals typically

maintain records relating to the source or sources of their

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contraband. Based on all the foregoing information in this
affidavit, I submit that probable cause exists to believe
that documents and other records relating to counterfeit
pharmaceutical drugs being smuggled or otherwise illegally
brought into the Unites States will be found at the SUBJECT
PREMISES.

64. Based upon my training and experience and
information related to me by agents and others involved in
the forensic examination of digital devices, I know that
data in digital form can be stored on a variety of systems
and storage devices including hard disk drives, floppy
disks, compact disks, magnetic tapes and memory chips. I
also know that during the search of the premises it is not
always possible to search digital devices for data for a
number of reasons, including the following:

a. Searching digital devices can be a highly
technical process that requires specific expertise and
specialized equipment. There are so many types of digital
devices and software in use today that it is impossible to
bring to the search site all of the necessary technical
manuals and specialized equipment necessary to conduct a
thorough search. In addition, it may also be necessary to

consult with specially trained personnel who have specific

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expertise in the type of digital device, software
application or operating system that is being searched.

b. Searching digital devices can require the
use of precise, scientific procedures that are designed to
maintain the integrity of the evidence and to recover
“hidden,” erased, compressed, encrypted or password-
protected data. Digital devices may contain “booby traps”
that destroy or alter data if certain procedures are not
scrupulously followed. Since digital data is particularly
vulnerable to inadvertent or intentional modification or
destruction, a controlled environment, such as a law
enforcement laboratory, is essential to conducting a
complete and accurate analysis of the digital devices from
which the data will be extracted.

Cc. The volume of data stored on many digital
devices will typically be so large that it will be highly
impractical to search for data during the execution of the
physical search of the premises. A single megabyte of
storage space is the equivalent of 500 double-spaced pages
of text. A single gigabyte of storage space, or 1,000
megabytes, is the equivalent of 500,000 double-spaced pages
of text. Storage devices capable of storing 500 gigabytes
(GB) of data are now commonplace in desktop computers.

Consequently, each non-networked, desktop computer found

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during a search can easily contain the equivalent of 240
million pages of data, that, if printed out, would
completely fill three 35' x 35’ x 10' rooms to the ceiling.
Further, a 500 GB drive could contain as many as
approximately 450 full run movies or 450,000 songs.

d. Digital device users can attempt to conceal
data within digital devices through a number of methods,
including the use of innocuous or misleading filenames and
extensions. For example, files with the extension “.jpg”
often are image files; however, a user can easily change
the extension to “.txt” to conceal the image and make it
appear that the file contains text. Digital device users
can also attempt to conceal data by using encryption, which
means that a password or device, such as a “dongle” or
“keycard,” is necessary to decrypt the data into readable
form. tn addition, digital device users can conceal data
within another seemingly unrelated and innocuous file ina
process called “steganography.” For example, by using
steganography a digital device user can conceal text in an
image file that cannot be viewed when the image file is
opened. Therefore, a substantial amount of time is
necessary to extract and sort through data that is
concealed or encrypted to determine whether it is evidence,

contraband or instrumentalities of a crime.

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e. Based on my knowledge, training and
experience, I know that computer files or remnants of such
files can be recovered months or even years after they have
been downloaded onto a hard drive, deleted or viewed via
the Internet. Electronic files saved to a hard drive can
be stored for years with little or no cost. Even when such
files have been deleted, they can be recovered months or
years later using readily-available forensics tools.
Normally, when a person deletes a file on a computer, the
data contained in the file does not actually disappear;
rather, that data remains on the hard drive until it is
overwritten by new data. Therefore, deleted files, or
remnants of deleted files, may reside in free space or
Slack space, i.e., space on the hard drive that is not
allocated to an active file or that is unused after a file
has been allocated to a set block of storage space for long
periods of time before they are overwritten. In addition,
a computer's operating system may also keep a record of
deleted data in a swap or recovery file. Similarly, files
that have been viewed via the Internet are automatically
downloaded into a temporary Internet directory or cache.
The browser typically maintains a fixed amount of hard
drive space devoted to these files, and the files are only

overwritten as they are replaced with more recently viewed

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Internet pages. Thus, the ability to retrieve residue of
an electronic file from a hard drive depends less on when
the file was downloaded or viewed than on a particular
user's operating system, storage capacity, and computer
habits.

Vv.

ITEMS TO BE SEIZED

65. Based on the foregoing, I respectfully submit
that probable cause exists to believe that evidence,
fruits, and instrumentalities of violations of (1) 18
U.S.C. § 2320 (Trafficking in Counterfeit Goods and
Services); (2) 21 U.S.C. §§ 331{i) (3) and 333(a)(1) (Sale
of Counterfeit Drugs); (3) 21 U.S.C. §§ 331(t),

353 (e) (2) (A), and 333(b) (1) (D) (Wholesale Distribution of
Prescription Drugs without a License); (4) 18 U.S.C. § 2421
(Interstate Transportation for Illegal Sexual Activity) ;
and (5) 18 U.S.C. § 2422 {Coercion and Enticement to Travel
Interstate to Engage in Sexual Activity) will be found at
the SUBJECT PREMISES, including, in particular:

a. Pills, tablets or capsules that resemble or
appear to be the prescription drug VIAGRA®.

b. Any other pill, tablet or capsule that

appears to be a counterfeit prescription drug.

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c. Packaging materials related to VIAGRA® or
any other counterfeit prescription drug, including, but not
limited to, labels, inserts, boxes, bottles, bottle caps,
external packaging and blister packs.

a. Documents related to the shipment, purchase,
sale, distribution, or storage of VIAGRA® or any other
counterfeit prescription drug.

e, Documents related to receipts, proceeds or
profits derived from the sale of VIAGRA® or any other
counterfeit prescription drug.

£. Documents, including, but not limited to,
correspondence, memos and facsimiles, identifying persons
involved in the shipment, importation, exportation,
purchase, manufacture or sale of VIAGRA® or any other
counterfeit prescription drug.

g. Documents related to evidence of VIAGRA®,
any other prescription drug, or any other counterfeit
prescription drug, being smuggled or otherwise illegally
brought into the Unites States, including, but not limited
to, U.S. Customs entry forms 3461 and 7501, Entry
Summaries, U.S. Customs Manifests of Goods, U.S. Customs
declaration forms, invoices, bills of lading, air way
bills, purchase orders, general ledgers, subsidiary

ledgers, packing slips, and air bills.

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h, Documents related to describing or
explaining how to sell or distribute any counterfeit
prescription drug.

i. Documents related to the transfer, deposit
or concealment of proceeds or profits derived from the sale
of VIAGRA® or any counterfeit prescription drug.

j- Customer lists and address books relating to
the sale of VIAGRA® or any counterfeit prescription drug.

k. Documents relating to transactions involving
the sale, distribution or transfer of VIAGRA® or any
counterfeit prescription drug.

1. Documents related to creating, establishing,
maintaining, or updating the website www. lafuzuko.com.

m. Documents related to receipts, proceeds or
profits derived from running a prostitution business or the
business advertised at www. lafuzuko.com.

n. Documents related to the transfer, deposit
or concealment of proceeds or profits derived from running
a prostitution business or the business advertised at
www. lafuzuko.com.

oO. Documents related to the hiring, retaining,
paying or firing of prostitutes or escorts.

p. Documents showing or establishing the

identity of prostitutes or escorts.

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q. Documents related to the hiring, retaining,
paying or firing of drivers to transport prostitutes or
escorts.

r. Documents showing or establishing the
identity of drivers to transport prostitutes or escorts.

s. Documents related to describing or
explaining how to run a prostitution business.

t. Documents related to advertising for the
hiring of prostitutes or escorts.

u. Documents related to transporting any person
across the border of the State of California, or
transporting any person in any other interstate travel, for
the purpose of engaging in sexual activity.

Vv. Customer lists and address books relating to
a prostitution business or the business advertised at
www. lafuzuko.com.

Ww. Condoms, contraceptives and other birth
control items relating to a prostitution business.

Xx. Documents relating to TOSHIE ISHIKAWA
entering or remaining in the United States pursuant to an
F-1 Student Non-immigrant Visa.

y- Indicia of occupancy, residency, ownership,
or dominion and control of the SUBJECT PREMISES, such as

leases, utility bills, canceled mail, credit card

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statements, bank account statements, checks, deposit slips,
and check books.

Z. United States currency greater than $500.

aa. With respect to any digital devices falling
within the scope of the foregoing search categories, or any
digital devices capable of containing evidence falling
within the scope of the foregoing search categories, all
records, documents, programs, applications or material that
show the actual user(s) of the digital device.

66. As used above, the terms records, documents,
programs, applications or materials include records,
documents, programs, applications or materials created,
modified or stored in any form, including in digital form
on any digital device. The term “digital device” includes
any electronic device capable of storing and/or processing
data in digital form, including: central processing units;
laptop or notebook computers; personal digital assistants;
wireless communication devices such as telephone paging
devices, beepers, and mobile telephones; peripheral
input/output devices such as keyboards, printers, scanners,
plotters, monitors, and drives intended for removable
media; related communications devices such as modems,

cables, and connections; storage media; and security

devices.

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67. In searching for data capable of being read,
stored or interpreted by a digital device, law enforcement
personnel executing this search warrant will employ the
following procedure:

a. Upon securing the premises, the law
enforcement personnel executing the search warrant will, to
the extent possible without requiring the use of special
training in searching and seizing digital data, seek to
determine if any digital device contains data falling
within the scope of the items to be seized in the warrant.
If they can make this determination without jeopardizing
the integrity of the digital data and a digital device
contains data falling within the scope of the items to be
seized in the warrant, that digital device will be seized.
If they cannot make this determination, or they believe
they cannot make this determination, without jeopardizing
the integrity of the digital data, law enforcement
personnel trained in searching and seizing digital data
(the “computer personnel”) will be consulted (either on-
site or off-site) to determine whether the digital device
can be searched on-site in a reasonable amount of time and
without jeopardizing the ability to preserve data contained

on the digital device.

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b. If the digital device can be searched on-
site in a reasonable amount of time and without
jeopardizing the ability to preserve data, it will be
searched on-site and seized only if the search reveals it
to be an item to be seized or to contain any data that
falls within the list of items to be seized set forth
herein.

Cc. If the digital device cannot be searched on-
site in a reasonable amount of time and without
jeopardizing the ability to preserve data, then the digital
device will be seized and transported to an appropriate law
enforcement laboratory for review. The digital device will
be reviewed by appropriately trained personnel in order to
extract and seize any data that falls within the list of
items to be seized set forth herein.

da. In searching the digital device, the
computer personnel may examine all of the data contained in
the digital device to view their precise contents and
determine whether the digital device and/or data falls
within the items to be seized as set forth herein. In
addition, the computer personnel may search for and attempt
to recover “deleted,” “hidden” or encrypted data to
determine whether the data falls within the list of items

to be seized as set forth herein.

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e. If the computer personnel seize the digital
device pursuant to subparagraph iii above, the computer
personnel will initially search the digital device within a
reasonable amount of time not to exceed 60 days from the
date of execution of the warrant. If, after conducting
such an initial search, the case agents determine that a
digital device is an item to be seized or contains any data
falling within the list of items to be seized pursuant to
this warrant, the government will retain the digital device
for further analysis; otherwise, the government will return
the digital device. If the government needs additional
time to determine whether the digital device is an item to
be seized or contains any data falling within the list of
items to be seized pursuant to this warrant, it may seek an
extension of the time period from the Court within the
original sixty day period from the date of execution of the
warrant.

68. In order to search for data that is capable of
being read or interpreted by a digital device, law
enforcement personnel will need to seize and search the
following items, subject to the procedures set forth above:

a. Any digital device capable of being used to
commit, further or store evidence of the offense listed

above;

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b. Any equipment used to facilitate the
transmission, creation, display, encoding or storage of
digital data, including word processing equipment, modems,
docking stations, monitors, printers, plotters, encryption
devices and optical scanners;

c. Any magnetic, electronic or optical storage
device capable of storing data, such as floppy disks, hard
disks, tapes, CD-ROMs, CD-R, CD-RWs, DVDs, optical disks,
printer or memory buffers, smart cards, PC cards, memory
calculators, electronic dialers, electronic notebooks,
cellular telephones and personal digital assistants;

d. Any documentation, operating logs and
reference manuals regarding the operation of the digital
device or software used in the digital device;

e. Any applications, utility programs,
compilers, interpreters and other software used to
facilitate direct or indirect communication with the
digital device;

£. Any physical keys, encryption devices,
dongles and similar physical items that are necessary to
gain access to the digital device or data stored on the

digital device; and

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g. Any passwords, password files, test keys,
encryption codes or other information necessary to access
the digital device or data stored on the digital device.

VI.

CONCLUSIONS

69. Based on the foregoing, I respectfully submit
that probable cause exists to believe that PAMELA QU,
a.k.a. "MINHONG QU," a.k.a. "Sophia," and a.k.a. "Sophia
Qu," has violated Title 18, United States Code, Section
2320 (Trafficking in Counterfeit Goods and Services), and
Title 21, United States Code, Sections 331{i) (3) and
333(a) (1) (Sale of Counterfeit Drugs) . Based on the
foregoing, I also respectfully submit that probable cause
exists to believe that TOSHIE ISHIKAWA, a.k.a. "Sharry,"
and a.k.a. "Sharry Ishikawa," has violated Title 21, United
States Code, Sections 331(1)(3) and 333(a)(1) (Sale of
Counterfeit Drugs). Accordingly, I respectfully request
that criminal complaints against and arrest warrants for
PAMELA QU and TOSHIE ISHIKAWA he issued.

70. Based on the foregoing, I also respectfully
submit that probable cause exists to believe that the
SUBJECT PREMISES contains and will contain evidence,
fruits, and instrumentalities of violations of (1) 18

U.s.c. § 2320 (Trafficking in Counterfeit Goods and

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Gervices); (2) 21 U.S.C. 8§§ 331(i) (3) and 333(a) (1) (Sale
of Counterfeit Drugs); (3) 21 U.S.C. &§ 331(t),

353 (e) (2) (A), and 333(b) (1) (D) (Wholesale Distribution of
Prescription Drugs without a License); (4) 18 U.S.C.

§ 2421 (Interstate Transportation for Illegal Sexual
Activity); and (5) 18 U.S.C. § 2422 (Coercion and
Enticement to Travel Interstate to Engage in Sexual
Activity). Accordingly, I respectfully request that a
search warrant be issued to authorize a search of the
residence located at 245 South California Street, San

Gabriel, California 91176 (the SUBJECT PREMISES) .

AARON G. NDAMAN

Special Agent

United States Immigration and
Customs Enforcement

Subscriked and sworn to before me
this day of August, 2009

HONORABLE VICTOR B. KENTON
UNITED STATES MAGISTRATE JUDGE

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